79
    GENERAL LAWS
                 OF    TH1




 17WELI iPH LEGISLATURE,

                 OF TIlE




STATE OF TEXAS.

    CALLE)              Ss0ION.
                         H




           BY   AUTHORITY.




                AUSTIN:
    IIJINTD 13Y TRACY, SIEMEING   & CO.
                      1870.
                       GENERAL LAWS.


                   CHAPTER            XLVI.
  AN ACT REtULATING TIE         I01T TO REEP AND DEAR ARMS.

    SECTION 1. Be it enacted by the Legislature of the &tate of
 l'exas, That if any person shall go into ally church or religious
as.eleibly, any school roomn or other place where persons are assem-
bled for educational, literary or scientific purposes,
                                                     0 1or into a haIl
room, social party or other social gathering composed of ladies and
gentlemen, or to any clect;on precinct on the dlq 7 or days of any
election, where any prtIon of the people of this Lstatc are col-
lected to vote at any eleei "7, or to any other place where people
may be assembled to inuster or to perform any other public daty, or
any other public assembly, and shall have about his person a bowie-
knitb, dirk or butcher-knifc, or fire-arms, whether known as a six
shooter, gun or pistol of' any kind, such person so oflfinding shall Ihe
deemed guilty of ai misdemeanor, and on conviction thereof shall Ie
fined in a sun not less than fifty or more than five hundred dollars,
at the discretion of tile court or jury trying the same; provided,
that nothing contained in this section shall apply to locations Subject
to Indian depredations ; and provided further, that this act shall not
apply to any person or persons whose duty it is to bear arias oi such
occasions in discharge of dutiLs imlpsed by law.
    Sic. 2. That this act take effct and be in force in sixty days
from the pmssage thereof.
    Approved August 12, 1870.




                    C11APTER XLVII.
AN ACT AUTHORIZING THE GOVERNOR T.) ORDER AN IiI CTION
  TO BE IEI,]) IN HILL CUNTY FOR TIE PERMANNT LOCATION
  OF TIIEIR COUNTY SEAT.

   SECTION 1. Be it enacted by the Leyislature of the State of
 Te.vas, That the Governor of the State of Texas be, and is hereby
authorized to order an election to be held in the county of lill, on
the second Monday in September, A. D. 1870, (or as soon thereaf-
ter as possible), for the permanent location of the county seat of the
                          GENERAL         LAWS.
county of Hill ; said election shall be hold tt such places and uuidr
.such rules and regulations as the Governor may prescribc.
    SEc. 2. Thattlhe returns of said election shall be made to the See-
,etary of State, within twenty days after said election shall have
been held, and the town receiviug two-thirds of the votes cast Shall
 be the permianent county seat of' the eounty of I lili, Nut shoild no
place receive two4hirds of the votes cast, the present comity socat
shall renain the permanent one.
   SEc. Sl. 'lhlat the Governor shall, within twenty days after the
aeturns of' said electioL shall have hc) n received, notify the I'ol.ce
Court of the county of lill of the r'esult of said election.
   Six. 4. That this act be in fbrce from and aftex passage.
   Approved August 12, 1.870.




                     V IIAPTER XLVIII

,AN     ACT MARINO APPROPRIATIONS FOR THE PAYMENT 'OP T112
      EXPENSES OF MAINTAINING4 RANG(INU COMIPANIES ON THE FRON-
      T1,141t.


    SWCTION" 1. Be it vjacded by the Legislotire of the ,S'ta/e of
  Te.as Tihat the suma of seven hund'ed and fifty thonand dollars,
'or so much thereof as may lio necessary, be and the same is hereby
4uppropriated, out of any moneys in the State Treasury (derived
 from the sale or hypothecation of the bonds of the State issued fbr
frontier protection), for the purpose of paying all expenses con-
 liected with the orgai.ization, arming and maintenance of the ranging
companies on the frontier, called into service under the provisions
 of the act approved June 18, 1870,
    SEc. 2. Thfat this appropriation shall be expended under tile
 direction of the Governor; and the Comptroller of Public Accounts
 shall, under the special direction of the Governor, audit all claims
 and accounts incurred fbr the purposes hereinbefore mentioned, and
 shiall draw his warrant on tie Treasurer for the payment of the
aame.
      SEc. 8. That thii. act shall take effect from and after its passage,
      Approved August 12, 1870.
80
                         APPENDIX.
   A. D.        chofen to that office until the firft day of O&ober in
                the year of our Lord One Thoufand Seven Hundred
                and Seventy-eight, provided the freemen think proper
                to re-cle& them at every general eleaion ; and the
                prefent Sheriffs and Coroners refpe&ively fi..'! conti-
                 nue to exercife their offices as heretofore until the She-
                 riffs and Coroners to be ele&ed on the faid twenty-
                 firft day of O&ober (hall be commiffioned and fworn
                 into office. The Members of the Legiflative Coun-
..,,, agt cil and Affembly hall meet for tranfacting the bufi-
ohs   this cm.- nefs of the Rate on the twenty-eighth day of Otober
    Ugib,.,,
unrder,
ntw,,             next, and continue in office until the firft day of Oc-
                  tober which will be in the year One Thoufand Seven
                  Hundred and Seventy-feven ; on which day, and on
                  the firft day qf Udober in each year forever after, the
                  lcg iflative Council, Affembly, Sheriffs and Coroners,
                   [halI be chofen by ballot in manner direded by the
                  feveral laws of this flate for regulating ele&ions of
                   Members of Affembly and Sheriffs and Coroners ;
                   and the General Affembly Ihall meet on the twentieth
                   day of the fame month forthe tranfadtng the bufinefs
                  of the flate ; and if any of the faid firft and twentieth
                   days of Odober (hould be Sunday, then and in fuch
                   cafe the elcdions fliall be held and the General Affem-
                   bly meet the next day following.
 ,,N,&,f,.om A'r. 28. To prevent any violence or force being
  .,6,a,           lufed at the faid de~lions, no perfon,, lhall conic armed
                    to any of them ; and no mufter of the militia [hall
                    be made on that day, nor fhall any battalion oi com-
                    pany give in their votes immnCdiately fucceeding each
                    other, Ifany ,other voter who offers to vote objeds
                    thcrcto; nor fliall any battalion or company in the
                    Faoof the Continent, or of this or any other ilare, be
                      ucred to remain at the time and place of holding
                     the (aid eleclion:, nor within one mile of the faid
                     places relpedtively for twenty-four hours before the
                     opening Iaid elcetions, nor witin twenty-four hours
                     after the fame are clofed, fo as in any manner to im-
                     pede the freely and convenient'; Lairring on the faid
                     eleetion : Pr'rided a/hra', That e'vcr, clc6t may
                     in a peaceable and orderly manner gi-,c in his vote on
                     the (aid day of clel .m.
                        Air. 29. There flull be no ellabitlment of any
                                                                        one



                        Digitized from Best Copy Available
81
                                    LAWS
                                             OF 11F


         STATE OF NEW-YORK,
                                         PASSED 13Y THE



                        LEGISLATURE AT THEIR TENTH SESSION.




                                       CHAP. 1.
            AN ACT concerning the rights of the citizens of this State.
                                                      PASSED the 2601 of January, 1787.

               Be it enaced y the Peop/e of the State of Xew York represented in
            Senate and Assembly and it is heirely enacted and declared It' the authorit,
            of the same.
All author- Firs/, That no authority shall, on any pretence whatsoever be exer-
ity derived cised over the citizens of this State but such as is or shall be derived
from state from and granted by the people of this State.
Right of      Second, That no citizen of this State shall be taken or imprisoned or
property be disseised of his or her freehold or liberties of free customs or ont-
Rlt1er-
           lawed or exiled or condemned or otherwise destroyed, but by lawful
    JonaIllb,
arty.    judgment of his or her peers or by due process of law.
            Thhd That no citizen of this State shall be taken or imprisoned for
         any offence upon petition or suggestion unless it be by indictment or
         presentment of good and lawful men of the same neighbourhood where
         such deeds be done, in due manner or by due process of law.
Id.         FIotrtith That no person shall be put to ansver without presentment
         before justices, or matter of record, or due process of law according to
         the law of the land and if any thing be done to the contrary it shall be
         void in law and holden for error.
Id.         Fifth 'T'hat no person, of what estate or condition soever shall be
         taken or imprisoned, or disinherited or put to death without being
         brought to answer by due process of law, and that no person shall be
         put out of his or her franchise or freehold or lose his or her life or limb,
          or goods and chattels, unless he or she be duly brought to answer and be
          forejudged of the same by due course of law and if any thing be done
          contrary to the same it shall be void in law and holden for none.
 CHAP. I.]                  TENTH SESSION.                                           345
     Six/h That neither justice, nor right shall be sold to any person, nor Justice to
 denied nor deferred; and that writs and process shall be granted freely be free.
 and without delay to all persons requiring the same and nothing from
 henceforth shall be paid or taken for any writ or process but the accus-
 tomed fee for writing and for the seal of the same writ or process and
 all fines duties and impositions whatsoever heretofore taken or demanded
 under what name or description soever, for or upon granting any writs,
 inquests, commissions or process to suitors in their causes shall be and
 hereby are abolished.
    Seventh That no citizens of this State shall be fined or amerced with- Fines tobe
 out reasonable cause and such fine or amerciament shall always be ironedto
 according to the quantity of his or her trespass or offence and saving to oele;
 him or her, his or her contenement; That is to say every freeholder 1ents.
saving his freehold, a merchant saving his merchandize and a mechanick
saving the implements of his trade.
    Ei'ghth That excessive bail ought not to be required, nor excestive Excessive
fines imposed, nor cruel and unusual punishments inflicted.                    1Itlaro.
    .inlh That all elections shall be free and that no person by force of Elections
arms nor by malice or menacing or otherwise presume to disturb or to be free.
hinder any citizen of this State to make free election upon pain of fine
and imprisonment and treble damages to the party grieved.
    Tent/ That it is the right of the citizens of this State to petition the Right of
person administering the government of this State for the time being, petition.
or either house of the legislature and all commitments and prosecutions
for such petitioning Are illegal.
   Eleventi That the freedom of speech and debates and proceedings in Freedom
the senate and assembly shall not be impeached or questioned in any elph
court or place out of the senate or assembly.                                 ture.
    Twelflh That no tax duty aid or imposition whatsoever shall be taken Taxes to
or levied within this State without the grant and assent of the people of          by
this State by their representatives in senate and assembly and that no of     auttority
                                                                                 legis-
citizen of this State shall be by any means compelled to contribute to lature.
any gift loan tax or other like charge not set laid or imposed by the
legislature of this State: Andfurlher, that no citizen of this State shall
be constrained to arm himself or to go ou'c of this State or to find soldiers
or men of arms either horsemen or footmen, if it be not by assent and
grant of the people of this State by their representatives in senate and
assembly.
    Teireentli That by.the.. laws and customs of this State the  . citizens
                                                                       .      TBlletIng
                                                                               f s1oldiers
and inhabitants thereof cannot be compelled against their Wills to I'rohlbitod
receive soldiers into their houses and to sojourn them there and there-
fore no officer military or civil nor any other person whatsoever shall
from henceforth presume to place, quarter or billet any soldier or
soldiers upon any citizen or inhabitant of this State of any degree or
profession whatever without his or her consent and that it shall and
may be lawful for every such citizen and inhabitant to refuse to sojourn
or quarter any soldier or soldiers notwithstanding any command order
warrant or billetting whatever.

               VOL. 2.--44
82
         LAWS
                         OF   THE




 GENERAL ASSEMBLY
                         OF TIlE




STATE OF PENNSYLVANIA,
                    PASSE)    AT THE




    SESSION OF 1873,

       In tho 11inoty-sovonth yeai of   Inderendenco.



   WITH AN APPENDIX.



           BY AUTHORITY.




               11 A R R IS     B U R G:
   BENJAMIN SINGERLY,               STATE PRINTER,
                          1873.
                        SESSION op 1873,                               7435


                              No. 808.


AuthorilAnt the' Mectors of tim lorough of LykonR, In the county of
     DauuiInh to elect one superviaur rtr said borotg et cotera.
   SEOTION 1. lie it enacted, &e., That the qualifierd electors of
the bormighl of [,ykens, hWthe county of' )ituphin, on the
third Friday of March, one thousand eight hundred and
seventy. three, and every suceceding March election thereafter,
elect but ono supervisor lor said borougl instead of two st-
pervisors ; and that all laws herelto're enacted in relatioai
thereto hu and the same are hereby repealed.
  Amttuv n-The 10th day of'April, A. 1). 1873.
                                          J F. IIARTRANFT.




                             No. 809.


To renppa annet for lhA nppmntumetof an auntioner for the county of
  Wetlui.rehuad, approved twentieth Mareh, one thousad eight hlUl-
  dred and sixty-nine.
   SEOTION1 . lie it enacted, &c., That the act providing for
the appointment of an auetineer fur the county of West-
moreland, approved the twuntieth day of Marli, Aun Dotnini
one thounul eight hundred and sixty nine, be and the same
is hereby riptaled.
   APpituvx,-The 10th day of April, A. D. 1813.
                                     J. F. IIALRTRANFT.




                             No. 810.

                                  ct
To prevent the carrying of deadly weapons within the city of Harris-
                               burg.
  SEWoN I. Be it enaoted, do., That any person who shall
carry any pistol, dirk-knife, slung-shot or deadly weapon
736                                    LAWS OF PE NNSYLVANrA,           .
                        within the city limits of Harrisburg, except police cilveers,
                        shall be deemed guilty of misdemeanor, anti being convicted
                        thereol, shall be sentenced to undergo an Imprisonment or
                        be flued in any sum of not less thau fifty dollars, or both, at
                        the discretion of the court, and In case or non. payment of
                        the tite so imposed, shall be imprisoned for a period of not
                        less than three months, and be required to give souurity for
                        future good behavior. The flues collected shall be paid into
                        the city treasury for the use of said city.
                           Apzisovt-Tho 12th day of April, A. D. 1873.
                                                              J. F. HARTR'ItANFT.




                                                   No. 811.


                        To Incorporate the Mnuntain Grove Cunp.Mopting Association of the
                                           I.ethodlst Episcopal Church.
cor, ,tnc                   SCTTON 1. Be it enacted, &e.,. That Reverends Samuel
                        Barties and Samuel Creiglhton, Messrs. J. M. Shotp, N. P.
                        Ji,il, M. %v.,Jckson, ii. G. echh, Stephen rurnhuigh, H.
                        gui, \ arldin, A. .1. Amermlan, J. Rt. Cleaver and Joseph Smith,
                        with such other person or persons, citizens of this stato and
                        of any other state, as may associate with thcmt. and their
                        successoro, lie and they hereby are created a body politic and
rlo..                   corporate in law by the nanme, style and title of the Monntain
                        Grove Cainp.M eeting Association of the Methodist Episeopal
eurpme.                 Church, for the purpose of providing and maiintaining for
                        tie memibers and friends of the Methodist Episcopal church
                        a proper, conmvenient, desirable and permanent canipu-Ueeting
                        ground utid christian family resort; and by the name or the
                        Mountain Urove Camp.Mecting Association of the ,MietJwodist
I0et             v,,.   E'lpiscupal Church, shall have perpetual succession, and be
                        able to sue anti be sued in any court of law or equity, anti
                        may have anti use a common seal, and the same at their plea-
                        sure alter and renew ; and shall have power to purchtse and
                        hol such real and personal estate, and erect such buildings
                        anti improvements thereon as they may deem neecssary,
                        proper or desirable for the purposes and objects of the cor-
                        poration, and the same, or any part thereof, to dispose of in
                        parcels or otherwise, by lease, or in fbe simple, or otherwise,
                        on such terms, conditions and restrictions, not repugnant to
                        the laws of this state or the United States, as they may see
                        fit; and the said corporation shall have authority to receive
                        gifts or bequests, by will or otherwise, for the purpose of
                        ornamenting, improving and maintaining the camp.ground
.u,       MI            of said association. The managers of the said coiporation
bUrrow ,Money.          shall have power to borrow money to any amount, not ex-
83
      ACTS AND RESOLUTIONS

                   OF THE




   GENERAL            ASSEMBLY

                   OF T2E




STATE OF GEORGIA,

      PASSED IN ATLANTA, GEORGIA,


                   AT THlE




    SESSIOIN OF                 1870.



COMPILED AND PUBLISHED BY AUTHORITY.




            ATLANTA, GEORGIA:
      PRINTED BY THE PUBLIC PRINTER.
                   1870.
              PUBLIC LAWS.-PENAL                CODE-AMENDMENTS TO.                  421
            To preserve the peace and harmony of the people of this State, etc.




                TITLE                            AVI.

          PENAL CODE-AMENDMENTS                                 TO.
SEoros.                                  SECTIONS.
 1. Carrying deadly weapons to certain    5. Section 415 of ihe Code changed-
        places prohibited.                       nolle prosequi.
 2. Violation--misdemeanoi-penalty.       6. All indictments, etc., submitted to a
 3. Chain-gang punishment prohibited.            jury.
 4. Punishment in lieu of chain-gang.

                                 (No. 285.)
An Act to preserve the peace and harmony of the people of this State,
                       and for other purposes.
   SECTION 1. Be it enacted, etc., That, from and immediately after the    carrying
passage of this act, no person in said State of Georgia be permit-            tet
ted or allowed to carry about his or her person any dirk, bowie-   any
                                                                        tain places
knife, pistol or revolver, or any kind of deadly      weapon,  to       prohibited.
court of justice, or any election ground or precinct, or any place
of public worship, or any other public gathering in this State, Exception.
except militia muster-grounds.
   SEC. 2. Be it further enacted, That if any person or persons shall Violation a
violate any portion of the above recited section of this act, he, or- peal
she or they shall be guilty of a misdemeanor, and upon convic-
tion shall be punished by a fine of not less than twenty nor more
than fifty dollars for each and every such offense, or imprison-
ment in the common jail of the county not less than ten nor more
than twenty days, or both, at the discretion of the court.
   SEc. 3. All laws and parts of laws militating against this act are
hereby repealed.
   Approved October 18, 1870.



                                 (No. 286.)
An Act to alter and amend section 4245 of Irwin's Revised Code, by
  striking out of said section the words " to work in a chain-gang on
  the public works," and for other purposes.
   SECTION 1. Be it enacted, etc., That the words "to work in a Chain-gang
chain-gang on the public works," which occur in fourth and fifth puiet
lines of section 4245 of Irwin's Code, be, and the same are hereby,
422              PUBLIC LAWS.-PENAL               CODE-AMENDMENTS TO.

                           To repeal Section 415 of the Revised Code.


            stricken from said section, and chain-gangs shall no longer exist,
            or be tolerated in the State of Georgia, for persons convicted of
            misdemeanors.
                 SEc. 2. Be it further enacted, That said section be further amend-
pmrhmenied,       by substituting for the words herein stricken out, the words
einlieu   f"    to work on the city or town streets, or county roads, not longer
           than six months; but in no case shall such prisoners be chained
           or otherwise confined in a gang, but shall be guarded."
              Snc. 3. Be it further enacted, That all laws and parts of laws in
           conflict with this act be, and they are hereby, repealed.
              Approved October 27, 1870.




                                               (No. 287.)
               An Act to repeal section four hundred and ffteen (415) qf Irwin's
                 Revised Code, in relation to entering nolle prosequis, wid to prescribe
                 the mode of settlement in criminal cases.

                 SECTION 1. Be it enacted, etc., That section four hundred and
 section 115 fifteen (415) of Irwin's Revised Code of Georgia, which said section
to        ,."authorizes Solicitors-General in this State to enter a nolle prose-
equ4   repeal. qui on indictments, be, and the same is hereby repealed, and no
           nolle prosequi shall be allowed, except it be in open court, for some
           fatal defect in the bill of indictment, to be judged of by the court,
Judge sanl in which case the presiding Judge shall order another bill of in-
 g bse dictment to be forthwith submitted to the grand jury.
                 SEC. 2. And be it further enacted by the authority aforesaid, That
     AU indict- all cases of indictments, or special presentments, shall be submit-
        ted to and passed upon by the jury, under the direction of the
    m ient
iury.   presiding Judge, unless there is a settlement thereof between the
       sett.prosecutor and defendant, which settlement shall be good and
geodwhe valid only by the approval and order of the court on examination
               into the merits of the case.
                 SEc. 3. And be it further enacted, etc., That all laws and parts.of
               laws conflicting with this act be, and the same are hereby, repealed.
                 Approved October 28, 1870.
84
  LAWS OF MISSOURI,

          PASSED AT THE SESSION OF THE




THIRTY-SECOND GENERAL ASSEMBLY,

    BEGUN AND HELD AT THE CITY OF JEFFERSON,




WEDNESDAY, JANTARY 3, 1883.



            (REGULAR SESSION.)



                 BY AUTHORITY.




                  JEFFERSON CITY:
        STATE JOURNAL COMPANY, STATE PRINTERS.
                         1883.
76                     CRIMES AND CRI*LMINAL PROCEDURE.

Be it enacted by the General Assembly Qf the AState of Misso.ri as follows:

     SECTION 1.    Any person or persons doing a commission business in this
state who shall receive cattle, hogs, sheep, grain, cotton or other commodi-
ties consigned or shipped to him or them for sale on commission, and who
shall wilfully make a false return to his or their consignor or shipper, in an
account of sale or sales of any such cattle, hogs, sheep, grain, cotton or
other commodities made and rendered by such person or persons for and to
such consignor or shipper, either as to weights or prices, shall be guilty of a
misdemeanor and shall, on conviction, be punished by imprisonment in the
county jail not exceeding one year, or by a fine not exceeding five hundred
dollars nor less than two hundred dollars, or by fine not less than one hun-
dred dollars and imprisonment in the county jail not less than three months.
     Approved April 2, 1883.




     CRIMES AND CRIMINAL PROCEDURE:                    CONCEALED WEAPONS.

AN ACT to amend section 1274, article 2. chapter 24 of the Revised Statutes of
         Missouri, entitled " Of Crimes and Criminal.Procedure.

      SECTION   1.   CarrYing concealed weapon. etc., penalty for increased.

Be it enacted by the General -Assembly of the State of Missouri, as follow's:

    SECTION 1. T1*hat section 1274 of the Revised Statutes of Missouri he
and the same is hereby amended by inserting the word - twenty " before the
word " five " in the sixteenth line of said section, and by striking out the
word " one " in the same line and iiiserting in lieu thereof the word "two,"
and by striking out the word " three " in the seventeenth line of said section
and inserting in lieu thereof the word " six," so that said section, as
amended, shall read as follows: Section 1274. If any person shall carry
concealed. upon or about his person., any deadly or dangerous weapon, or
shall go into any church or place where people have assembled for religious
worship, or into any school room or place where people are assembled for
educational, literary or social purposes, or to any election precinct on any
election day, or into any court room during the sitting of court, or into any
other public assemblage of persons met for any lawful purpose other than
for militia drill or meetings called under the militia law of this state, having
upon or about his person any kind of fire arms, bowie knife, dirk. dagger,
slung-shot or other deadly weapon, or shall in the presence of one or more
persons exhibit any such weapon in a rude, angry or threatening manner, or
shall have or carry any such weapon upon or about his person when intoxi-
cated or under the influence of intoxicating drinks, or shall directly or
indirectly sell or deliver, loan or barter to any minor any such weapon, with-
out the consent of the parent or guardian of such minor, he shall, upon con-
viction, be punished by a fine of not less than twenty-five nor more than two
hundred dollars, or by imprisonment in the county jail not exceeding six
months, or by both such fine and imprisonment.
      Approved March 5. 1883.
85
                          LAWS.

                              OF THE




STATE OF 4MSSISSIPPI

                              OF ,THE




MISSISSIPPI LEGISLATURE,
                            HELD    IN     T]HE




           CITY OF JACKSON,

Co   rqueing   Jhn. St) ,   1878, hpd        J'94ing   .Mar   5tl, 1;.




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                         JACKSON,. MISS
               POWER &   EA RESDA LE,      STA TE PRINTERS,

                                   1S7S.
                    STATE OF MISSISSIPPI.                175

               CHAPTER XLVI.
AN ACT to prevent the carrying of concealed weapons,
              and for otner purposes.

  SECTION 1. Be it enaCledlby the Legislatue
of the State of Mississippi, That any person.
not being threatened with, or having good and Vhen con-
sufficient reason to apprehend an attack, or cealed wea-
traveling (not being a tramp) or setting out pons may be
on a journey, or peoce officers, or deputies in carriA.
discharge ot theirduties,who carries concealed.
in whole or in part, any bowie knife, pistol.
brass knuckles, slung shot or other deadly
weapon of like kind or description, shall be
deemed guilty of a misdemeanor, and on cot-
viction, shall be. punished for the first offence
by a fine of not less than five dollars nor more
than one hundred dollars, and in the event the
fine and cost are not paid shall be required to Penally for
work at hard labor under the direction of the carrying
board of supervisors or of the court, not weapons.
 exceeding two months, and for the second or
 any subsequent offence, shall, on conviction,
 be fined not less than fifty nor more than two
 hundred dollars, and if the fine and costs are
 not paid, be condemned to hard labor not
 exceeding six months under the direction of Burden of
 the   board   of supervisors, or of the court. proof on ac-
That in any proceeding under this section, it cused.
shall not be necessary for the State to allege
or prove any of the exceptions herein contain-
ed, but the burden of proving such exception
shall be on the accused.
   SEC. 2. Be itfuither enacted, That it shall
not be lawful for any person to sell to any
minor or person intoxicated, knowing him to linorsor
be a minor or in a state of intoxication, any persons in-
weapon of the kind or description in the first toxicated.
section of this Act described, or any pistol
cartridge, and on conviction shall be punished
by a fine not exceeding two hundred dollars,
and if the fine and costs are not paid, be con-
demned to hard labor under the direction of
the board of supervisors or of the court, not
exceeding six months.
                        LAWS OF THE

               E c. ". B.I it   furtie   cniacted, That   any
              father, who shall knowingly suffer or permit
Minor under any minor son under the age of sixteen years
16 years.     to carry concealed, in whole or in part, any
              weapon of the kind or description in the first
              section of this Act described, shall be deemed
              guilty of a misdemeanor, and on conviction,
              shall be fined not less than twenty dollars, nor
              more than two hundred dollars, and if the fine
              and costs are not paid, shall be condemned to
              hard labor under the direction of the board of
              supervisors or of the court.
                  SEC. 4. Be it fuffi/er enacted, That any
              student of any university, college or school.
               who shall carry concealed, in whole or in part,
Students.     any weapon of the kind or description in the
              first section of this Act described, or any
               teacher, instructor, or professor who shall,
               knowingly, suffer or permit any such weapon
              to be carried by any student or pupil, shall
              be deemed guilty of a misdemeanor, and, on
               conviction, be fined not exceeding three hun-
              dred dollars, and if the fine and costs are not
              paid, condemned to hard labor under the
              direction of the board of supervisors or of the
              court.
                  SEC. 5. Be it further enacted, That each
Tax fee of    justice of the peace before whom a conviction
Justice.       is had, shall, in addition to the costs now
               allowed by law, be entitled to a tax fee of two
               dollars and a half.
                  SEC. 6. Be it flt/Hl   entacted, That iime-
               diately after the passage of this Act, the Sec-
 Act tu le     retarY of State shall transmit a copy to each
read incourts circuit judge in the State, who shall cause the
               same to be read in open court on the day for
               the calling of the State docket of the court.
                  SEC. 7. Be it further enacted, That this Act
               take effect from and after its passage.
                  APPROVED, February 28, 1S78.
86
       SESSION LAWS             I

                OF THE




            FIFTEENTH



LEGISLATIVE ASSEMBLY

                OF THE




    TERRITORY OF ARIZONA.




SESSION BEGUN ON THE TWENTY-FIRST DAY
          OF JANUARY, A. D. 1889.
16                    LAWS OF ARIZONA.

   SEc. 3. This Act shall take effect from and after its pass-
age.
   Approved March 18, 1889.

No.   12.                  AN    ACT
Concerning the Transaction of Judicial Business on Legal Holi-
                            days.
Be it enacted by the Legislative Assembly of the Territory of
   Arizona:
    SACTION I.     No Court of Justice shall be open, nor shall
any Judicial business be transacted on any Legal Holiday, ex-
cept for the following purposes:
    I.  To give, upon their request, instructions to a Jury
when deliberating on their verdict.
    2.  To receive a verdict or discharge a Jury.
    3. For the exercise of the powers of a magistrate in a
criminal action, or in a proceeding of a criminal nature; pro-
vided, that the Supreme Court shall always be open for the
transaction of business; and provided further, that injunctions,
attachments, claim and delivery and writs of prohibition may
be issued and served on any day.
    SEC. 2.   All Acts and parts of Acts in conflict with this
Act are hereby repealed.
    SEc. 3. This Act shall be in force and effect from and after
its passage.
   Approved March 18, 1889.

No.   13.                 AN ACT

Defining and Punishing Certain Offenses Against the Public
                         Peace.
Be it Enacted by the Legislative Assembly of the Territory
    of Arizona:
    SECTION I.    If any person within any settlement, town,
village or city within this Territory shall carry on or about his
person, saddle, or in his saddlebags, any pistol, dirk, dagger,
slung shot, sword cane, spear, brass knuckles, bowie knife, or
any other kind of knife manufactured or sold for purposes of
offense or defense, he shall be punished by a fine of not less
than twenty-five nor more than one hundred dollars; and in
addition thereto, shall forfeit to the County in which he is con-
victed, the weapon or weapons so carried.
    SEC. 2.    The preceding article shall not apply to a per-
son in actual service as a militiaman, nor as a peace officer
                       LAWS OF ARIZONA.                        17
or policeman, or person summoned to his aid, nor to a rev-
enue or other civil officer engaged in the discharge of offi-
cial duty, nor to the carrying of arms on one's own prem-
ises or place of business, nor to persons traveling, nor to
one who has reasonable ground for fearing an unlawful at-
tack upon his person, and the danger is so imminent and
threatening as not to admit of the arrest of the party
about to make such attack upon legal process.
    SEc. 3. If any person shall go into any church or relig-
ious assembly, any school room, or other place where per-
sons are assembled for amusement or for educational or
scientific purposes, or into any circus, show or public ex-
hibition of any kind, or into a ball room, social party or
social gathering, or to any election precinct on the day or
days of any election, where any portion of the people of
this Territory are collected to vote at any election, or to
any other place where people may be assembled to minister
or to perform any other public duty, or to any other public
assembly, and shall have or carry about his person a pistol
or other firearm, dirk, dagger, slung shot, sword cane,
spear, brass knuckles, bowie knife, or any other kind of a
knife manufactured and sold for the purposes of offense or
defense, he shall be punished by a fine not less than fifty
nor more than five hundred dollars, and shall forfeit to the
County the weapon or weapons so found on his person.
    SEC. 4. The preceding article shall not apply to peace
officers, or other persons authorized or permitted by law to
carry arms at the places therein designated.
    SEc. 5. Any person violating any of the provisions of
Articles i and 3, may be arrested without warrant by any
peace officer and carried before the nearest Justice of the
Peace for trial; and any peace officer who shall fail or refuse to
arrest such person on his own knowledge, or upon information
from some credible person, shall be punished by a fine not ex-
ceeding three hundred dollars.
    SEc. 6. Persons traveling may be permitted to carry arms
within settlements or towns of the Territory for one-half hour
after arriving in such settlements or town, and while going
out of such towns or settlements; and Sheriffs and Constables
of the various Counties of this Territory and their lawfully ap-
pointed deputies may carry weapons in the legal discharge of
the duties of their respective offices.
    SEC. 7. It shall be the duty of the keeper of each and
every hotel, boarding house and drinking saloon, to keep
posted up in a conspicuous place in his bar room, or reception
room if there be no bar in the house, a plain notice to travel-
ers to divest themselves of their weapons in accordance with
Section 9 of this Act, and the Sheriffs of the various Counties
18                      LAWS OF ARIZONA.

shall notify the keepers of hotels, boarding houses.and drink-
ing saloons in their respective Counties of their duties under
this law, and if after suh notification any keeper of a hotel,
boarding house or drinking saloon, shall fail to keep notices
posted as required by this Act, he shall, on conviction thereof
before a Justice of the Peace, be fined in the sum of five dol-
lars to go to the County Treasury.
    SEc. 8. All Acts or parts of Acts in conflict with this Act
are hereby repealed.
    SEc. 9. This Act shall take effect upon the first day of
Apr 1, 1889.
     Approved March 18, 1889.


No.    14.                  AN ACT
             To Amend Paragraph 492, Revised Statutes.
Be it Enacted by the Legislative Assembly of the Terrritory
    of Arizona:
    SECTION i. That Paragraph 492, Chapter 5, Title 13, of
the R vised Statutes. be amended so as to read as follows: "If
he fail to attend in person or by deputy any term of the Dis-
trict Court. the Court may designate some other person to
perform the duties of District Attorney during his absence from
Court, who shall receive a reasonable compensation to be certi-
fied by the Court, and paid out of the County Treasury, which
the Court shall by order direct to be deducted from the salary
of the District Attorney, if the absence of such Attorney is
not excused by such Court."
    SEC. 2.    That all Acts and parts of Acts in conflict with
this Act be, and the same are, hereby repealed.
    SEc. 3. That this Act shall take effect and be in force
from and after its passage.
      Approved March i9, 1889.


No. 15.                     AN ACT
To Provide for the Payment of Boards of Supervisors of the
         Counties within the Territory of Arizona.
Be it Enacted by the Legislative Assembly of the Territory
     of Arizona:
    SEcTioN i.    Each member of the Board of Supervisors
within this Territory shall be allowed as compensation for their
services Five Dollars per day for each dav's actual attendance
at the sitting of said Board, at which sitting any County busi-
ness is transacted; and twenty cents per mile actually traveled
87
 PENAL CODE
       OF



STATE OF IDAHO,

      I9OI.
          Press of
Capital News Printing Co.,
        Boise. Idaho.
84          CRIMES AGAINST THE REVENUE, ETC.                         Ch. 0OXVI1!

person of F'. a bodily injury, as while    was never in any danger of being con-
being prosecuted in the magistrate's       victed of an assault with a deadly
court for displaying a deadly weapon in    weapon with Intent to inflict bodily
a rude, angry and threatening mariner      harm.-Territory v. Stocker, 9 Mont. 6.
in the presence of others, the defendant   22 Pac. 496.

   Section 4781. Persons Other than Officers Carrying
Certain Weapons:                1t is unlawful for any person. except
United States officials, officials of the State of Idaho, county officials,
peace officers, guards of any jail, and officers or employees of any
express company on duty, to carry, exhibit or flourish any dirk, dirk-
knife, sword, sword-cane, pistol, gun or other deadly weapons, within
the limits or confines of any city, town or village or in any public as-
senbly of the State of Idaho. Every person so doing is guilty of a
misdemeanor and is punishable by fine not less than fifty dollars nor
more than one hundred dollars, or by imprisonment in the county
jail for a period of not less than twenty days nor more than fift:r
days, or by both such fine and imprisonment.
     1889, 15th Ses. p. 23, Sec. 1.

  Section 4782. Fines Provided in Preceding Section-
To WhonI Paid: One half of all fines collected under the pre-
ceding Section shall he paid to the officer making the arrest, which
amount shall be payment in full for his services. The other one
half shall k paid into the common School Fund of the county, after
deducting the necessary costs of the prosecution of the case.
     1889. 15th Ses. p. 23. Sec. 2.

  Section 4783. Forcible Entry: Every person using or pro-
curing, encouraging or assisting another to use. any force or violence
in entering upon or detaining any lands or other possessions of an-
other. except in the cases and in the manner allowed by law, is
g-uiltv of a misdemeanor.
    1887 R. S, See. 6962; 1874-5 p. 209,     Forcible entry:   See See. 3974 C. Civ.
See. 570.                                  Proc.
   Section 47S4. Taking Repossession of Land.                      Ever,
person who has heen removed from any lands by process of law, )r
who has removed from any lands pursuant to the lawful adjudica-
lion or direction of any court. tribunal, or officer, and who afterwards
unlawfully returns to settle, reside upon. or take possession of such
lands, is guilty of a misdemeanor.
     1S87 R. S. See. 6963.


                               CHAPTER CCXVIII.
 CRIMES AG.-\[N'S'I' THE REVENUE AND PROPERTY OF
                       THE STATE.
Section.                                   Section.
4785. Embezzlement     and falsification   4788. Certain officers refusing to pay
         of accounts by public officers,            over fine or forfeiture accord-
4786. Officers neglecting to pay Over               ing to law.
         public moneys.                    4789, Refusing to give assessor list 1,f
4787, PUblic moneys defned.                        properq',
88
.ainc offenders come not as afore is aid, and the proclamation made and retunned, they ihall be convia anA at,
 tainted of the riot, affembly, or rout aforefaid: And moreover theJufices of Peace in every county or corporation,
 where fuch riot, alembly, or rout of people Ihall be made, in cafe the famebe made in their preence, or if none be
 '&refeht, then the Jtifices havirpg notice thereof; together with the (he;iff, under fhcriff, or ferjeant, of the fame
  county or corporation, fhall do execution of this a~, every one upon pain of twenty pounds, to be paid to the
 Commonwealth i as often as they Ihall be.found in default of the execution of the faida& ; atnd on luch default of
 the juffices and fheiff ' under fheriff, or ferjeaiit, a conimifion thall go from-th6 Gerieral Court at the inftance
 "fthe party grieved, to enquire as well of th6 truth of the care, and of theororiginal  matter for the party complain-
                                                                                 ferjeant, in this behalf fuppofed, to be
 ant, as of te.defult or defaults of the faidjuffices, iheriffi under lheriff,
 diie&ed to fufficient and indifferent perfons at the nomination of the Judges ; and the laid ommiflioners prefently
  fhahl return into the General Court the iriquefis and matters before them in this behalf taken and found : But no
   erfons convi&ed of a riot, rout, and unlawful affembly, fhall be imprifoned for fuch offence by a longer fpace of
  time than one year. Perfons legally conv~ed of a riot, rout, or unlawful affembly, 6therwife than inthe manner
  dire&ed by this a&, fhall be putifhed by imprifoament and amercement, at the diferetion of a jury, under the
  like limitation.
                          .     .        ,




                                             C H A P.             XLIX.
                          An ACT forbidding and pun inhg AFPRAYS.
IE it ?naaed by the Veneral 4 4bly, 'Thatno man; great nor finall, of what condition f6ver he be, 6Xcep
    the Minifters of Juftic ini ex~iuting he precepts of the courts ofjuftice, or in executing of their office, and
fuch as be in ;heircompany afffling them, be fo hardy to come before the juflices of any court, or either of their
Miniffers of Jullice, doing their dffice, with force andarmsi on painj to forfeit their armour to the Commonwealth,
and their bodies to prifon, at the plcafure of a courti nor go nor ride armed by night nor by dayj in fairs or Imarkets,
or Hi other places, in terror of the county, upoh pain of beingarrefted and committed to prifon by any Juftce on his,
Own view, or proof by others, there to abide for fo long a time as a jury, to be fworn for that purpofe by the laid
Juftice,flhall diic&, and in like manner to forfeit his armour to the Commonwealth; but no perfon fhall be imri-
toned for fiuch Offence by a longer fpace of time than one month;


                                             CHAP.             L.
                        ~n AT. agat C ON S                              I RIAT Ob               S.
 ]B     it declared dtid epnated by the General 4Aembly, That conpirators ke they that do confederate and bind
      themfelves by oath, covenant or other alliafice, that evcry of them.llball aid and bear the other falfely and ma-
 licioufly, to move gr caufe to be moved any enticement or information agaitit anoiler on the part of the Common..
 ivealth, and thofe who aie convieted thereof at the fuit of the Commonwealth, fhall be puniihcd by inprifbntnent
  and amercemint, at the difcretion of a jury;



                                              C H A P.            LL.
         An ACT agahi/ convtpng dr taking PR E T EN SED                                           ITLE 81
 B E 1 enacted by the General :.ffembly, That rio peffon fliall convey 6r takei or bargain to convey or take, any
     pretenfed titleto anylands dr tenements, unlefs the perfon conveying or bargainhig to convey, or thofe under
 whom he claims fliall  have been in poffeflion of the fame, or of the reverfion or remainder thereof one whole year next
 before ; and he who offendath herein knowingly,,Aall forfeit the whole value of the lands or tenements; the one
 moiety to the Commonwealth, and the other to him who will fue as well for himfclf as for the Commonwealth: But
 any perfon lawfully poffefred of lands or tehements, or of the reverfion or remainder thereof, may neverthclefs take
 or bargain to take the pretenfed title of any othdr perfonj fo far and fo far only as it may confirm his former eftate.


                                               C 11A P, LI1
             Ah ACT td punu                  BRIBERY                 and E X T O R.T IONi
     E it enactedb~y the General Affeinidly, That i6 ie, iaftref, ke~pemi bf any Public Seal, Councihlot df Statei
      Cunfldl for the Commdndelth Judge, orAttorniesat law, pra lifing either in the General Court, High Court.
 of Chancery, Court of Appeals, Court of Admiralty, or lnferioi Couitk, Clerk rtf th Peace, Shctilff Coronei,
 Elcheator, nor any officer of the Commonwcalth, fliall in time to -one, take, in any for i, any inanner of
 gift, brokage, or reward for doing his oflice, other than is, or thall be allowed by fome at of General Af&enbly,
 palled after the inflitution of the Cofm1i onwealthi that isto fav, after h fiifteenth day of May, in the year of our
 Lord, one thouflmd feven hundred and feve fix ;and he that doth, thall pay unto the party grieved, the treble value
 Of that he hathreceived, flhall be amnerced and imprfunedatthedifcretionof ajur, andfhallbe ldf harged from his office
 forever; and he who wilt ue iatile                                                                         nU, and the
                                        faid ,hatter, Ihall have fuit as well for the Commonwealth as for him'
 third part of the amercement.
                                                                                                                  CHAP.
